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1
2                                    UNITED STATES DISTRICT COURT
3                                   CENTRAL DISTRICT OF CALIFORNIA
5
6                                     )                      Case No.: 2:16-cv-02231
7    EDUARDO GONZALES, an individual, )
                                      )                      ORDER
                                      )
8               Plaintiff,            )
                                      )
9                                     )
                                      )
10                                    )
         vs.                          )
11                                    )
                                      )
12                                    )
     LAW OFFICES OF ALLEN ROBERT )
13   KING, and ALLEN ROBERT KING, and )
     SALVADOR CORTEZ and WRIGHT       )
14                                    )
     PROPERTY MANAGEMENT, INC. and )
15   DOES 1-10,                       )
                                      )
16                                    )
                                      )
17                                    )
                Defendant.            )
18                                    )
19           HAVING SHOWN GOOD CAUSE, this case is dismissed with prejudice.
20
21   IT IS SO ORDERED.
22
23   Dated: January 18, 2018
24
25                                                  Hon. Judge Sheri Pym
                                                    Magistrate Judge of the United States District
26                                                  Court, Central District of California
27
28



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                                               MOTION TO DISMISS
     Gonzalez v. Law Offices of Allen Robert King                             2:16-cv-02231-SJO-KS
